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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

AURACLE HOMES, LLC et al.                         :          3:20-cv-00829-VAB

       Plaintiffs,                                :

v.                                                :

NED LAMONT,                                       :          July 15, 2020

       Defendant.                                 :



                        BRIEF OF AMICI CURIAE
      GREATER HARTFORD LEGAL AID, CONNECTICUT LEGAL SERVICES,
             NEW HAVEN LEGAL ASSISTANCE ASSOCIATION,
                 CONNECTICUT FAIR HOUSING CENTER,
           JEROME N. FRANK LEGAL SERVICES ORGANIZATION,
              CONNECTICUT LEGAL RIGHTS PROJECT, AND
                CONNECTICUT VETERANS LEGAL CENTER


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                          STATEMENT OF INTEREST OF AMICI

Greater Hartford Legal Aid is a non-profit legal services organization incorporated in the City

of Hartford in 1958. Since then, GHLA has provided free legal assistance to indigent residents of

greater Hartford, including in housing matters. GHLA Housing Unit attorneys represent

hundreds of low-income tenants each year in summary process matters in Housing Court and

provide systemic housing advocacy in appeals, impact litigation, and policy initiatives.


Connecticut Legal Services is a private nonprofit law firm providing free legal services in civil

matters to low-income residents since 1977. Its mission is to represent, advise and educate low-

income individuals and families and thereby help them secure the protections, privileges,

benefits, rights and opportunities available under the law. The low-income population eligible for

the services of CLS consists of approximately 180,000 persons. Representation is provided

through six full-service offices and two satellite locations in Connecticut. CLS provides legal

representation in numerous specialized areas, including housing.


New Haven Legal Assistance Association was incorporated in 1964 with a mission to secure

justice for and to protect the rights of New Haven County residents unable to engage legal

counsel. NHLAA provides free legal services to low-income individuals and families and

advocates administratively and legislatively for policies which protect the interests of the poor

and disadvantaged. NHLAA provides legal representation in numerous specialized areas

including housing and represents hundreds of clients a year in summary process matters.


Connecticut Fair Housing Center is a nonprofit law office dedicated to ensuring that all people

have equal access to housing opportunities in Connecticut, free from discrimination. Because


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housing discrimination disproportionately affects people with low incomes, the Center focuses

on the intersection of poverty and housing discrimination. The Center also assists Connecticut

homeowners who are hit hardest by foreclosures. The Center’s work focuses on direct

representation of people facing eviction and foreclosure in trial and appellate-level proceedings

in state and federal court (including extensive amicus work), especially when fair housing rights

are at stake, along with outreach and advocacy directed at all three branches of government.


The Jerome N. Frank Legal Services Organization (LSO) at Yale Law School is comprised

of legal clinics in which law students work under the supervision of faculty attorneys to assist

individuals who cannot afford private legal representation. The Housing Clinic has represented

Connecticut tenants in summary process eviction and other housing-related matters since 1985. It

has appeared in cases raising housing issues in state and federal courts in Connecticut at both the

trial and appellate levels. The Housing Clinic also has appeared as amicus curiae in state and

federal appellate court proceedings across the country.


Connecticut Legal Rights Project is a statewide nonprofit established in 1990 that provides

high-quality legal services to low income persons with psychiatric disabilities living in

Connecticut, primarily on matters related to their treatment and civil rights. CLRP represents

clients with mental health conditions in housing matters to enable them to access or maintain

housing and to fight discrimination.


Connecticut Veterans Legal Center is a non-profit legal services organization focused on

helping veterans recovering from homelessness and mental illness overcome legal barriers to

housing, healthcare, and income. As the first legal services organization to partner with

the Veterans Administration, the CVLC is focused on working with our partners to represent


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veterans across Connecticut in court, including summary process defense, and agency

proceedings. These clients often have difficulty securing transportation, recognizing and

communicating their legal needs, and following up with appointments and documentation

without assistance. CVLC meets these veterans where they already receive various types of

mental healthcare, substance abuse treatment, housing and other social services.


                                 PRELIMINARY STATEMENT

       Connecticut was hit early and hard by the COVID-19 pandemic. Governor Lamont

responded by declaring a public health emergency and putting in place measures that have

succeeded in tamping down the spread of the infection and saving lives. One of these measures, a

moratorium on certain evictions, is critical to these efforts to keep Connecticut safe in the face of

a nationwide surge in infections.

       Amici are legal services providers whose staff attorneys represent tenants facing eviction

in Connecticut housing courts. Legal services housing clients are people living in poverty,

largely from communities of color that have been disparately affected by COVID-19.1 Well

before the pandemic hit, the communities that we serve were affected by Connecticut’s long

history of racial segregation in housing; the racially disparate impact of the 2008 foreclosure

crisis; and some of the highest rates of eviction in the nation. These low-income communities

will bear the brunt of the wave of evictions that surely will result if the moratorium is lifted at

this time. Our clients will be subjected to heightened risk of exposure to COVID-19 if they are

forced to double-up in cramped apartments or to attend crowded housing court calendar calls.



1
 Alex Putterman, Black and Latino Residents Hit Particularly Hard By Covid-19 in Connecticut,
As Experts Fear Disparities Will Widen, Hartford Courant, Apr. 8, 2020, available at
http://www.courant.com/coronavirus/hc-news-coronavirus-covid-19-racial-disparities-0407-
20200408-jsrg2au2fnab5fbxhpu4ioqmb4-story.html.
                                                  3
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Time is needed for Connecticut’s newly launched rental assistance program to take effect and for

the Judicial Branch to plan for safer housing court proceedings.

       Connecticut’s eviction moratorium is largely coextensive with the federal moratorium in

the CARES Act. 15 U.S.C. § 9058. Governor Lamont’s tailored moratorium temporarily

suspends evictions and does not absolve tenants of their obligation to pay rent. It is an

appropriate use of the Governor’s powers to protect public health in a time of great emergency.

See Jacobson v. Mass., 197 U.S. 11 (1905); see also South Bay United Pentecostal Church v.

Newsom, 140 S.Ct. 1613 (Roberts, C.J., concurring); Block v. Hirsch, 256 U.S. 135, 156 (1921)

(Holmes, J.) (upholding eviction restrictions against constitutional challenge based on

"exigency" of crisis posing a "danger to public health"). This Court should reject the Plaintiffs’

challenge as the Southern District of New York did in a similar challenge to New York’s

eviction moratorium. Elmsford Apartment Ass’ns, LLC et al. v. Cuomo, 20-cv-4062 (CM), 2020

WL 3498456 (S.D.N.Y. June 29, 2020).

                                          ARGUMENT

I.     A WAVE OF EVICTIONS DURING THE PANDEMIC WOULD TRIGGER AN
       EVEN MORE ACUTE PUBLIC HEALTH CRISIS.

       A. Connecticut is Suffering Unprecedented Unemployment and Many Tenants Cannot
          Pay Rent.

       Connecticut has suffered sky-rocketing unemployment due to the abrupt economic

shutdown. The official Bureau of Labor Statistics Connecticut unemployment figure for May

2020—the most recent available as of writing—was 9.4% (nearly three times the March 2020

figure of 3.7%), but the Connecticut Department of Labor (DOL) Office of Research estimates

that the true mid-May unemployment figure is closer to 19%.2 The DOL reports that it has


2
 See State of Connecticut vs. United States Unemployment Rate, Conn. Dep’t of Labor (last
visited July 14, 2020), https://www1.ctdol.state.ct.us/lmi/unemprateCTUS.asp.
                                                 4
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received a staggering 675,000 applications for unemployment claims since March 13, 2020.3 For

comparison, during the same four-month period at the height of the 2009 crisis, Connecticut saw

just over 100,000 applications.4 A May report by the Boston Federal Reserve Bank estimated

that tens of thousands of Connecticut renters were at risk of missing a rent payment even with

the support of federal CARES Act payments.5 A survey of landlords by the Governor’s office

found that the number of tenants who could not pay had tripled from April to May 2020.6

Twenty-two percent of Connecticut renters have missed a rent payment by May 2020, and the

same percentage (some 140,000 Connecticut residents, three-quarters of them people of color)

feared they could not make rent for May.7

       The avalanche of Unemployment Insurance (UI) claims initially overwhelmed the

outdated legacy computer system of Connecticut’s DOL,8 and payments even for regular state

benefits lagged for weeks.9 The automated system poses additional hurdles for applicants with



3
  State Continues to See High Application Volume, Conn. Dep’t of Labor (July 2, 2020),
http://www.ctdol.state.ct.us/communic/2020-7/070220%20CTDOL%20update.pdf.
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                                                5
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disabilities, limited English proficiency, and low literacy. Payments from federal unemployment

programs under the CARES Act, including Pandemic Unemployment Assistance (PUA) and

Pandemic Unemployment Compensation (PUC), were delayed for months awaiting federal

guidance,10 and because the DOL had to create computer programs that interfaced with the 40-

year-old legacy COBOL language to enable Connecticut residents to apply for the federal

programs.11 Federal PUC payments will expire on July 25, 2020,12 and even if Congress renews

PUC in some form, it will not do so for weeks or months and the benefits paid will be less than

the current PUC program.13 Once that $600-per-week lifeline runs out, the income of tens of

thousands of families relying on UI will be reduced to a fraction of its prior amount through no

fault of their own.

       The problems continue to date. Throughout the public health emergency, an estimated

120,000 Connecticut residents are not eligible for UI or federal relief because of their

immigration status; those residents are forced to rely on a small state fund or community and




2020, available at https://www.courant.com/coronavirus/hc-biz-unemployment-insurance-q-a-
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mutual aid.14 Other Connecticut residents stopped working due to concerns about workplace

safety, fear for their health or that of their household members, or reluctance to use public

transportation.15 UI applicants continue to report difficulty reaching the DOL, navigating the

application process, and receiving their benefits.16 The State is poised for a surge in evictions in

the fall.

        B. Connecticut Had an Eviction Crisis Before the Pandemic Struck.

        This new spike of Connecticut renters at risk of eviction is layered on top of an existing

housing crisis for low-income renters in Connecticut, particularly in communities of color.

Analysis of 2016 court records by the Eviction Lab at Princeton University reveals that the City

of Hartford, a community that is about 37% Black and African-American and 45% Latinx,17

ranks 29th in the nation in the rate of evictions.18 Hartford’s eviction rate is twice the national

average19: eviction judgments were entered against 5.73 of 100 renter homes in Hartford in 2016,

an average of 5.54 such eviction judgments each day.20 Bridgeport’s 2016 eviction rate was

5.03%, and Waterbury had an even higher eviction rate in 2016, with eviction judgments against




14
   Mark Pazniokas, Connecticut Provides Coronavirus Assistance for Undocumented, Hartford
Courant, June 3, 2020, available at https://ctmirror.org/2020/06/03/connecticut-provides-
coronavirus-assistance-for-undocumented.
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   Rabe Thomas, supra note 6.
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https://www.facebook.com/groups/222303712529530.
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   QuickFacts: Hartford City, Connecticut, United States Census Bureau, July 1, 2019 population
estimates, available at https://www.census.gov/quickfacts/hartfordcityconnecticut.
18
   Hartford: Top Evicting Large Cities in the United States, Eviction Lab (last accessed July 9,
2020), available at
https://evictionlab.org/rankings/#/evictions?r=United%20States&a=0&d=evictionRate&l=28
19
   Carmen Baskauf & Lucy Nalpathanchil, America’s Eviction Epidemic, WNPR (Aug. 30,
2018), available at https://www.wnpr.org/post/americas-eviction-epidemic.
20
   Eviction Lab, supra note 18.
                                                   7
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6.1% of renters that year.21 Now that unprecedented unemployment has hit Connecticut, eviction

rates as high as 13% are projected.22

       C. A Wave of Evictions in the Pandemic Would Be a Public Health Catastrophe.

       An eviction surge would have devastating health consequences for low-income

communities, threatening the hard-won gains Connecticut has made in controlling the spread of

the virus. In order to reduce the spread of COVID-19, Connecticut residents have been told to

practice social distancing, stay home, and shelter in place. But you cannot shelter in place

without shelter. When families are evicted, by definition, they are forced out of their homes.

       After this often-traumatic loss, many have no choice but to enter the state’s emergency

shelter system, “double-up” in overcrowded apartments, or sleep outside in encampments—

setting the stage for a surge of infections. Through bitter experience, we have learned that these

types of congregate living settings are prime locations for the spread of COVID-19.23 In an


21
   Connecticut, Eviction Lab (last accessed July 9, 2020), available at
https://evictionlab.org/map/#/2016?geography=states&type=er&locations=09,-72.729,41.62.
22
   Rabe Thomas, supra note 6.
23
   Zach Murdock, Mass Testing at Connecticut Prisons Identifies Another 832 Covid-19 Cases,
Almost All Asymptomatic, DOC Says, Hartford Courant, June 29, 2020, available at
http://www.courant.com/coronavirus/hc-news-coronavirus-doc-mass-testing-numbers-20200629-
fdgou7ywpneknewyl32d4e3bxe-story.html; Zach Murdock, New Data Show Covid-19 Deaths in
Connecticut Nursing Homes Represented 80% of All Deaths Over Past Week, Hartford Courant,
June 11, 2020, available at http://www.courant.com/coronavirus/hc-news-coronavirus-nursing-
home-deaths-slow-june-20200612-7xqvh75f6rexvajecn7nnqnody-story.html; Thomas Fuller,
Coronavirus Outbreak Has America’s Homeless at Risk of ‘Disaster,' N.Y. Times, Mar. 10,
2020, available at https://www.nytimes.com/2020/03/10/us/coronavirus-homeless.html; Nikita
Steward, 'It's a Time Bomb': 23 Die as Virus Hits Crowded Shelters, N.Y. Times, Apr. 13, 202),
available at https://www.nytimes.com/2020/04/13/nyregion/new-york-coronavirus-
homeless.html; Alyse D. Oneto, Samantha Batko, Why Homeless Encampment Sweeps Are
Dangerous During COVID-19, Urb. Inst. (May 12, 2020), available at
https://www.urban.org/urban-wire/why-homeless-encampment-sweeps-are-dangerous-during-
covid-19; Richard A. Oppel, Jr. et al., The Fullest Look Yet at the Racial Inequity of
Coronavirus, N.Y. Times, Jul. 5, 2020, available at
https://www.nytimes.com/interactive/2020/07/05/us/coronavirus-latinos-african-americans-cdc-
data.html (noting expert conclusions based on largest nationally available dataset that Black and
Latinx individuals are far more likely than white individuals to contract COVID-19 in part
                                                 8
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attempt to avoid viral outbreaks in the state’s shelter system, Connecticut’s government and

network of homeless shelters worked quickly to “decompress” shelters by moving 60% of the

shelter population into hotels.24 The State is now undertaking a $14 million campaign to house

1,800 individuals more permanently.25 A new wave of evictions would reverse these efforts and

lead to new spikes in infections.26

       The same day that the Governor issued Executive Order 7DDD extending the eviction

moratorium (June 29, 2020), the State also announced relief for renters and landlords. These

initiatives include $10 million for residential renters with priority to low-income families that do

not qualify for unemployment insurance; $2.5 million in relief for families that do not qualify for

federal assistance, such as undocumented immigrant families; and $5 million in relief for those

who already were facing eviction when the pandemic hit.27 These programs launched July 15,



because those groups are more likely to "live in cramped apartments or multigenerational
homes).
24
   Liz Teitz, Coronavirus Challenge: Move 60 Percent of Homeless Into Hotels, Middletown
Press, Apr.1, 2020, available at
https://www.middletownpress.com/news/coronavirus/article/State-pushing-cities-to-move-60-
percent-of-15170627.php; Rebecca Luyre, Connecticut Shelters Rapidly Moving People to
Hotels to Prevent Covid-19 Outbreaks; Homeless Individual Tests Positive in Hartford, Hartford
Courant, Mar. 30, 2020, available at http://www.courant.com/coronavirus/hc-news-coronavirus-
homeless-shelter-relocations-20200330-i5mzljkeanduhnxnt74wwkqpmu-story.html.
25
   Emilie Munson, State Will Place 1800 Homeless in Apartments, Considers Buying Hotels,
Conn. Post, June 25, 2020, available at
https://www.ctinsider.com/news/coronavirus/ctpost/article/State-will-place-1-800-homeless-in-
apartments-15365707.php.
26
   In addition to an increased risk of contracting and spreading COVID-19, evicted individuals
will also be more likely to experience other negative health outcomes, such as depression and
suicidal ideation. They will also be less likely to secure safe and decent permanent housing in the
future. Emily Benfer, Coronavirus Rent Freezes Are Ending — and A Wave of Evictions Will
Sweep America, NBC News (June 22, 2020), available at
https://www.nbcnews.com/think/opinion/coronavirus-rent-freezes-are-ending-wave-evictions-
will-sweep-america-ncna1230916.
27
   State Announces Financial Aid for Renters, Homeowners Affected by COVID-19, NBC Conn.
(June 29, 2020), available at https://www.nbcconnecticut.com/news/coronavirus/state-
announces-financial-aid-for-renters-homeowners-affected-by-covid-19/2295100.
                                                 9
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2020, and will need time to be implemented and to take effect. Nothing prevents the state from

expanding these programs, which rely on federal funds already available to Connecticut, if

expansion is needed. An abrupt onslaught of evictions will overwhelm the available relief, just as

the State is struggling to maintain its gains in the face of a troubling national wave of

infections.28

II.     THE HOUSING COURTS CANNOT OPERATE IN A SAFE MANNER
        WITHOUT FURTHER PLANNING TO ENSURE DUE PROCESS.

        A. Crowded Housing Courts Present the Risk of a Super-Spreader Event.

        Early in the pandemic, the Judicial Branch closed most of its courthouses, and for good

reason. On a typical day, 27,000 people pass through the metal detectors of Hartford Judicial

District buildings.29 If evictions resume, the operation of the housing courts themselves will pose

a threat to public health. When the State epidemiologist estimates that there are ten COVID

infections for every confirmed case, there is no telling how many people present for the morning

housing court calendar call could be positive for the virus.30

        In pre-pandemic days, the hallways of Superior Court on housing calendar days were

often jammed with tenants, most of them unrepresented, awaiting hearings or mediation in small,

poorly ventilated rooms.31 This status quo mode of operating does not permit social distancing


28
   Christopher Keating, As Coronavirus Spikes Across Nation, Gov. Lamont Says Connecticut
May Pause Reopening of State, Hartford Courant, July 1, 2020, available at
http://www.courant.com/coronavirus/hc-news-coronavirus-lamont-being-cautious-20200701-
hdicoy4uyjbilllpcj35y7mcz4-story.html.
29
   David Owens, Connecticut to Close Some Courthouses to Limit Employee, Visitor Exposure to
Coronavirus; Evictions, Foreclosures Paused, Hartford Courant, Mar. 18, 2020, available at
https://www.courant.com/coronavirus/hc-news-coronavirus-some-state-courthousess-close-
20200318-p2ah2kjtbjehveyuycym2mwbqu-story.html.
30
   Alex Putterman, Air Travelers from Hot Spot States Must Check In Upon Arrival In
Connecticut, July 13, 2020, available at http://www.courant.com/coronavirus/hc-news-
coronavirus-daily-updates-0713-20200713-vmetgrjzezb2nhlwgp6xwa5e2a-story.html.
31
   Edmund Mahoney, Connecticut’s Court System is Struggling to Recover From Devastating
Coronavirus Shutdown, Hartford Courant, June 30, 2020, available at
                                                 10
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and would risk the health not only of legal services clients, but also of the vast majority of

unrepresented tenants, landlords, clerks, marshals, interpreters, court reporters, judges, and

members of the bar. When New York courts continued operating during the early days of the

pandemic, court personnel were sickened; tragically, some lost their lives.32

       Reopening the housing courts in-person would require many tenants, especially low-

income tenants, to travel on public transportation or share rides, creating further exposure risks in

the community.33 Processing large numbers of evictions in the housing courts almost assuredly

will spark new outbreaks in Connecticut’s towns and cities.

       B. Time and Resources Are Needed to Bridge the Digital Divide and Enable
          Unrepresented Litigants to Participate in Remote Proceedings.

       Connecticut is not ready to conduct housing court remotely. Connecticut’s Judicial

Branch simply does not have adequate technology in place to process the backlog of existing

cases, let alone a surge in new evictions.34 Many housing court defendants do not have sufficient

access to technology to participate effectively in high stakes proceedings that could render them

homeless. In housing court, unlike other Divisions of Superior Court, most defendants are poor

and the great majority are unrepresented. The Connecticut Judicial Branch estimates that 75% of




http://www.courant.com/coronavirus/hc-news-coronavirus-connecticut-courts-20200626-
20200630-dn5hvpmsqzeaffxhbnevmzehem-story.html#rt=chartbeat-flt.
32
   Noah Goldberg, Wes Parnell & Molly Crane-Newman, Coronavirus Leaves Trail of Illness
and Death in NYC Courthouses As Slow-to-Change System Struggles to Cope With Pandemic,
N.Y. Daily News, May 25, 2020, available at http://www.nydailynews.com/coronavirus/ny-
coronavirus-pandemic-unprepared-nyc-courts-20200526-fe2zknj7cbgutpjdn3vtfruiiq-story.html.
33
   Three CT Transit Workers Test Positive for COVID-19, NBC Conn., Apr. 14, 2020, available
at https://www.nbcconnecticut.com/news/local/three-cttransit-workers-test-positive-for-covid-
19/2251710.
34
   Edmund Mahoney, Connecticut’s Court System is Struggling to Recover From Devastating
Coronavirus Shutdown, Hartford Courant, June 30, 2020, available at
http://www.courant.com/coronavirus/hc-news-coronavirus-connecticut-courts-20200626-
20200630-dn5hvpmsqzeaffxhbnevmzehem-story.html#rt=chartbeat-flt.
                                                 11
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all housing court cases involve at least one pro se party;35 in many housing courts nationwide, it

is reported that 90% of tenants facing eviction lack a lawyer, while 90% of landlords are

represented.36 Without lawyers, unrepresented litigants who are low-income or of modest means

may not have access to stable wifi or devices that will enable them to participate effectively in

remote court proceedings.

       Connecticut’s experience in online learning this spring demonstrated a stark digital

divide. School districts that surveyed families found that low-income households faced

substantial barriers to accessing devices that could support online learning platforms.37 Despite

some internet providers’ offers of free or low-cost wifi, access to internet bandwidth sufficient to

support some platforms remains a problem.38

       Due to this deep digital divide,39 unrepresented tenants likely will not have the means to

defend effectively against summary process proceedings. Eviction proceedings can require the



35
   Report of the Task Force to Improve Access to Counsel in Civil Legal Matters, Report to the
Judiciary Committee of the Connecticut General Assembly, at 16 (December 15, 2016),
available at
https://www.cga.ct.gov/jud/tfs/20160729_Task%20Force%20to%20Improve%20Access%20to%
20Legal%20Counsel%20in%20Civil%20Matters/Final%20Report.pdf.
36
   Matthew Desmond, Unaffordable America: Poverty, housing, and eviction, Fast Focus 22
(2015) at 5, available at https://www.irp.wisc.edu/publications/fastfocus/pdfs/FF22-2015.pdf.
37
   Jacqueline Rabe Thomas, Two Districts, Two Very Different Plans for Students, While School
is Out Indefinitely, Conn. Mirror, Mar. 19, 2020, available at
https://ctmirror.org/2020/03/19/two-districts-two-very-different-plans-for-students-while-school-
is-out-indefinitely.
38
   Emily DiSalvo, Despite Community Efforts, Some Students Are Still Offline, CT News Junkie,
July 13, 2020, available at
https://www.ctnewsjunkie.com/archives/entry/20200713_despite_community_efforts_some_stud
ents_are_still_offline/?utm_source=CTNewsJunkie+Main+List+With+Publication+Groups&utm
_campaign=549c3ff2ce-MCP_COPY_01&utm_medium=email&utm_term=0_a493d2308d-
549c3ff2ce-92888149.
39
   Monica Anderson & Madhumitha Kumar, Digital Divide Persists Even as Lower-Income
Americans Make Gains in Tech Adoption, Pew Res. Ctr. (May 7, 2019), available at
https://www.pewresearch.org/fact-tank/2019/05/07/digital-divide-persists-even-as-lower-
income-americans-make-gains-in-tech-adoption.
                                                12
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presentation of witnesses and exhibits and may require interpreters. Housing mediation requires

meaningful opportunities for consultation and consent, lest tenants be rushed into unfair or

unreasonable stipulated agreements. Almost 800 evictions were filed in Superior Court in the

time period after the public health emergency was declared March 10th and before the initial

April 10th moratorium took effect.40 Until resources are in place, Connecticut’s housing courts

cannot restart safely, let alone process a tsunami of new non-payment cases.


       C. Connecticut’s Moratorium is Largely Coextensive with the Federal Eviction
          Moratorium.

       The June 29th extension of Connecticut’s eviction moratorium until August 22, 2020

makes it roughly coextensive with the eviction moratorium enacted by Congress in the CARES

Act. The federal CARES Act imposes a 120-day moratorium (through July 25, 2020) on

initiating eviction proceedings for non-payment of rent against residential tenants living in

covered properties. 15 U.S.C. § 9058(b). After the 120 days pass, landlords of covered housing

must give their tenants 30 days’ written notice to vacate before commencing an eviction action.

15 U.S.C. § 9058(c). Thus, no eviction for nonpayment of rent can be filed in CARES Act-

covered residential property until at least August 25, 2020.

       The federal moratorium covers all properties receiving federal assistance, including

housing that is privately-owned.41 The Urban Institute estimates that the federal moratorium


40
   Calculated based on data from Connecticut Judicial Branch available at https://jud.ct.gov.
41
   In addition to federal low-income public housing, the federal moratorium applies to properties
with tenants who have Housing Choice Vouchers (commonly known as “Section 8” vouchers),
all HUD-assisted housing, privately owned housing with construction subsidies such as the Low
Income Housing Tax Credit program, and other federally subsidized housing programs. 15
U.S.C. § 9058(a). The CARES Act moratorium also covers properties with a “federally backed
mortgage,” that is, a mortgage insured, guaranteed, or “assisted in any way” by the Federal
Housing Administration (FHA), Veterans Administration (VA) or U.S. Department of
Agriculture (USDA), or purchased or securitized by Fannie Mae or Freddie Mac. 15 U.S.C. §
9058(a)(4).
                                                13
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covers over one quarter of all rental units in the U.S. and almost half of all multifamily rental

units. 42 The actual figure is higher, because the Urban Institute estimate does not include units in

Low Income Housing Tax Credit properties, rent subsidy programs like Section 8, and public

housing.43

       The federal moratorium demonstrates the propriety of the Governor’s response to the

pandemic. In addition, coordinating the length of the state and federal eviction moratoria will

reduce confusion in Connecticut’s housing courts. Tenants—the vast majority of whom do not

have counsel—will not know, or know how to determine, whether a particular property is subject

to the federal moratorium. That is because the federal moratorium applies not only to types of

federal assistance of which the tenant may be aware (e.g., public housing or Section 8 assistance)

but also to mortgages that are federally insured but not otherwise assisted and, more important,

to the securitization of private mortgages in the secondary market by Fannie Mae and Freddie

Mac. Indeed, because mortgages are commonly bundled and resold without the property owner’s

knowledge, even property owners may not immediately know if a property has a federally

backed mortgage.

       Housing court judges and clerks cannot be expected to identify the thousands of

properties that are federally assisted to determine which rules apply. Extending Connecticut’s

eviction moratorium to the end of August reduces this confusion and makes it more

administratively feasible for the Judicial Branch to reopen the housing courts when it is safer.

III.   LOW-INCOME COMMUNITIES OF COLOR ARE DISPARATELY AFFECTED
       BY BOTH THE EXISTING EVICTION CRISIS AND THE COVID-19
42
   See Laurie Goodman, Karan Kaul & Michael Neal, The CARES Act Eviction Moratorium
Covers All Federally Financed Rentals--That’s One in Four US Rental Units, Urb. Inst. (Apr. 2,
2020), available at https://www.urban.org/urban-wire/cares-act-eviction-moratorium-covers-all-
federally-financed-rentals-thats-one-four-us-rental-units.
43
   Id. (“Our estimates only cover federally financed units in single-family and multifamily
properties and exclude units covered by LIHTC, federal assistance or voucher programs.”).
                                                 14
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       PANDEMIC.

       Connecticut has long had a racialized housing market in which people of color,

particularly those who live in low-income communities, have borne a disproportionate share of

the burdens. When combined with the effects of the COVID-19 pandemic, Connecticut’s

segregation places renters of color at heightened risk of both homelessness and illness. The

eviction moratorium has helped prevent a disastrous increase in homelessness and virus exposure

that would disproportionately impact renters of color.

       A. Connecticut Has a Racialized Housing Market.

       Due to a long history of government and private action, people of color living in

Connecticut are more likely to rent than own their homes and less likely to have accumulated the

wealth needed to survive an economic crisis. Starting in the 1930s and continuing for several

decades, the federal government refused to lend, and federal agencies refused to back loans, in

mixed race and Black neighborhoods.44 Racial covenants locked Black homebuyers out of

suburban communities until the Supreme Court’s decision in Shelley v. Kraemer, 334 U.S. 1

(1948). Redlining did the same, and discriminatory lending practices continue despite the

passage of the Fair Housing Act of 1968.45 Steering, intimidation, and other forms of

discrimination—all of which continue today—excluded Black people from homeownership at

the time real estate was most affordable. As a result, the families who vaulted into the middle




44
   See Amy E. Hillier, Redlining and the Homeowners Loan Corporation, 3 J. URB. HIST. 394
(2003).
45
   Tracy Jan, Redlining Was Banned 50 Years Ago. It’s Still Hurting Minorities Today, Wash.
Post, March 28, 2018, available at
https://www.washingtonpost.com/news/wonk/wp/2018/03/28/redlining-was-banned-50-years-
ago-its-still-hurting-minorities-today.

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class through subsidized homeownership programs and through moves out of the city and to the

suburbs were overwhelmingly white.46

       When the mortgage industry did expand its lending to Black and Latinx borrowers, it

targeted those communities for predatory mortgages.47 By 2008, Black and Latinx communities

in Connecticut’s cities and diverse inner-ring suburbs were seeing the first wave of foreclosures

resulting from those predatory and equity-stripping practices.48 These foreclosures contributed to

a drop in homeownership in those communities, resulting in a homeownership gap with Black

Connecticut residents now owning their homes at rates barely half (39%), and Latinx residents

less than half (34%), that of whites (73%).49 Combined with the lingering effects of earlier

exclusion from appreciating housing markets, this has led to a vast disparity in wealth based on

race and ethnicity.50

       As a result, the majority of Black and Latinx residents in Connecticut rent their homes,

leaving them vulnerable to loss of housing through eviction via summary process rather than the




46
   See Ira Katznelson, When Affirmative Action Was White (2005).
47
   Nick Carey, Racial Predatory Loans Fueled U.S. Housing Crisis: Study, Reuters, Oct. 4, 2010,
available at https://www.reuters.com/article/us-usa-foreclosures-race/racial-predatory-loans-
fueled-u-s-housing-crisis-study-idUSTRE6930K520101004; see also Jacob S. Rugh & Douglas
S. Massey, Racial Segregation and the American Foreclosure Crisis, 75 Am. Soc. Rev. 629
(2010).
48
   Lisa Prevost, Connecticut—Confronting a Wave of Foreclosures, N.Y. Times, Feb. 24, 2008,
available at https://www.nytimes.com/2008/02/24/realestate/24wczo.html.
49
   Housing Tenure by Race and Ethnicity by County, Conn. Data Collaborative (last accessed
July 9, 2020), available at http://data.ctdata.org/dataset/housing-tenure-by-race-and-ethnicity-by-
county.
50
   Angela Hanks, Danyelle Solomon & Christian E. Weller, Systematic Inequality: How
America’s Structural Racism Helped Create the Black-White Wealth Gap, Ctr. for Am. Progress
(Feb. 21, 2018), available at
https://www.americanprogress.org/issues/race/reports/2018/02/21/447051/systematic-inequality.
                                                16
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longer foreclosure process. The racialized wealth gap means these residents have less in savings

and are more vulnerable to homelessness soon after a job loss.51

       When coupled with the pandemic’s economic and health consequences, the effects of

government and private practices have left thousands of Connecticut families of color vulnerable

to eviction. Thirty-one percent of Black renters and forty-three percent of Latinx renters recently

told the Census Bureau they were facing housing instability as a result of the pandemic as

compared to only sixteen percent of white renters.52

       B. The Pandemic Has Caused Particular Harms for Low-Income Workers of Color.

       The pandemic has caused outsized economic and health disruptions for low-income

workers of color. When the pandemic hit, 61% of Hispanic adults and 44% of Black adults

reported that they or someone in their household had either lost their job or taken a pay cut as a

result of the pandemic, compared to 38% of whites; these numbers were higher for lower-income

households (52%) when compared to all households (43%).53

       Perversely, lower-income Black and Latinx workers who have kept their jobs in

Connecticut are more likely than whites to be front-line or essential workers who must risk

exposure to the coronavirus that causes COVID-19.54 Furthermore, because lower-income



51
   See Chiumenti, supra n. 5; see also Danyelle Solomon & Darrick Hamilton, The Coronavirus
Pandemic and the Racial Wealth Gap, Ctr. for Am. Progress (Mar. 19, 2020), available at
https://www.americanprogress.org/issues/race/news/2020/03/19/481962/coronavirus-pandemic-
racial-wealth-gap.
52
   DataHaven analysis of US Census Bureau Household Pulse Survey public use microdata,
weeks 1 through 7, https://www.census.gov/householdpulsedata, available at https://ct-data-
haven.github.io/covidpub/#economic-impacts.
53
   Kim Parker, Juliana Menasce Horowitz & Anna Brown, About Half of Lower-Income
Americans Report Household Job or Wage Loss Due to COVID-19, Pew Res. Ctr. (Apr. 21,
2020), available at https://www.pewsocialtrends.org/2020/04/21/about-half-of-lower-income-
americans-report-household-job-or-wage-loss-due-to-covid-19.
54
   See, e.g., Putterman, supra n. 1; Jordan Fenster, “We Didn’t Sign Up for This”: Not Essential
During a Storm But Essential Now, New Haven Register, May 14, 2020.
                                                17
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households are more likely to rent than own, they face increased exposure to COVID-19 merely

by virtue of being renters (e.g., through shared common areas).55 Renter households are five

times as likely to be overcrowded, and in Connecticut, Latinx and Black households are more

likely than white to be overcrowded.56 Partly for these reasons, Black and Latinx people are far

more likely to test positive for, and to die from, COVID-19 than white people.57

       C. The Eviction Moratorium Has Helped Ameliorate the Pandemic’s Racialized Harms.

       The eviction moratorium has had at least two positive effects. First, it prevents people

who have lost their jobs from the further destabilization of losing their homes and all the costs

and harmful effects that would follow. Second, it reduces the exposure to the virus that

dislocation would otherwise cause, whether through: (1) the actual move itself; (2) entering

homeless shelters that lack the ability to house all their residents in a safe manner during a

pandemic, and either exposing or being exposed to the coronavirus in that setting; or (3)

combining households with others who may be at risk of contracting COVID-19 by virtue of

their status as an essential worker or otherwise. In this manner, the moratorium has helped

prevent the racialized health effects of the pandemic from getting even worse.


                                         CONCLUSION

       Connecticut’s eviction moratorium is critical to protect the health of low-income

communities, especially communities of color. Indeed, the eviction moratorium is necessary to


55
   Matt Hoffmann, No Evictions for Renters, But Increased Risk During Pandemic, Middletown
News-Press, Apr. 6, 2020, available at https://www.newspressnow.com/coronavirus/no-
evictions-for-renters-but-increased-risk-during-pandemic/article_ee1dc646-7814-11ea-b0c7-
e726682830ce.html.
56
   Data Haven, Towards Health Equity in Connecticut: The Role of Social Inequality & the
Impact of COVID-19, at 19 (June 2020), available at
https://ctdatahaven.org/sites/ctdatahaven/files/DataHaven%20Health%20Equity%20Connecticut
%20061820.pdf.
57
   Oppel, Jr., supra n.23.
                                                 18
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ensure that Connecticut maintains the public health gains that it has worked so hard to achieve

against this insidious virus. Accordingly, amici legal services programs respectfully request that

this Court deny the Plaintiffs’ request to enjoin Connecticut’s eviction moratorium.




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                                                           Respectfully submitted,



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